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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KATHLEEN M. JUNGCLAUS,                          :
               Plaintiff,                       :
                                                :
           v.                                   :         Civ. No. 17-4462
                                                :
WAVERLY HEIGHTS LTD.,                           :
             Defendant.                         :
                                                :

                                              ORDER

       AND NOW, this 12th day of April, 2022, upon consideration of Waverly’s Motion for

Summary Judgment (Doc. No. 38), Jungclaus’ Response (Doc. No. 44), Waverly’s Reply (Doc.

No. 46), and the entirety of the record, it is hereby ORDERED that:

       1. Waverly’s Motion for Summary Judgment (Doc. No. 38) is GRANTED;

       2. JUDGMENT IS ENTERED in favor of Defendant Waverly Heights, Ltd., and against

           Plaintiff Kathleen M. Jungclaus;

       3. The Clerk’s Office shall CLOSE this case for statistical purposes.




                                                                  AND IT IS SO ORDERED.

                                                               /s/ Paul S. Diamond
                                                                               Paul S. Diamond, J.
